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                          UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF LOUISIANA

 In re

 W Resources, L.L.C.,                                           Case No. 18-10798

          Debtor .                                              Chapter 11

                       FINDINGS OF FACT AND CONCLUSIONS OF LAW
                     RELATING TO SALE OF ASSETS AND RELATED RELIEF

         Dwayne M. Murray (“Trustee”), the Liquidating Trustee of W Resources, LLC Liquidating

Trust (the “Trust”), filed an expedited Liquidating Trustee’s Motion to Sell Assets and for Other

Relief [P-762] (the “Sale Motion”) seeking authority to sell Trust assets.

         The court held a hearing on the Sale Motion on July 20, 2022 (the “Sale Hearing”) that

resulted in an auction between two qualified bidders, with L.J.G. Land Company, LLC, Ascension

Commerce Center, LLC and Ascension Commerce Center Investment Holdings, LLC (“LJG”)

being declared the “Winning Bidder” with the highest and best bid of $8,725,000; and

WHITEBEAR FARMS, L.L.C. (“WBF”) being declared the “Back-Up Bidder” with the second

highest and best bid of $8,700,000.

         Present at the July 20, 2022 hearing were: (a) Dwayne M. Murray, the Liquidating Trustee

of W Resources, LLC Liquidating Trust, along with his counsel, Paul Douglas Stewart, Jr.; (b)

Barbara Parsons, counsel for LJG, along with representatives of LJG; (c) Ray Williams, agent for

WBF, and (d) Patrick Johnson and Brent Wyatt, counsel for Investar Bank, N.A., formerly known

as Investar Bank, successor in interest to The Highlands Bank, individually and as agent for First

National Bankers Bank, Louisiana; United Community Bank, as successor-in-interest to

Community Bank of Lafourche; and Plaquemine Bank & Trust (collectively “Investar”), along

with representatives of Investar Bank.



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       The Trustee testified that the bids received at the Auction were the product of arms'-length

negotiations with the bidders and that neither bidder was affiliated with the Trust.

       After conducting the hearing on the Sale Motion, and in light of (i) proper notice having

been given as evidenced by the certificates of service entered on the docket of the record of this

bankruptcy case; (ii) the testimony provided by the Trustee, Dwayne M. Murray; (iii) the

stipulations of counsel to the parties to the facts set forth in this pleading as represented by their

signatures below; and (iv) the arguments of counsel, the court, for the oral reasons assigned in

open court on July 20, 2022 and memorialized in these findings of fact and conclusions of law,

will grant the Sale Motion (the “Sale Order”). These written findings of fact and conclusions of

law (“Findings and Conclusions”) supplement any oral findings made in open court, and shall,

together with any oral findings and reasons announced in open court, constitute findings of fact

and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this case pursuant

to Bankruptcy Rule 9014.

       IT IS FOUND AND DETERMINED THAT:

       1.      The findings of fact and conclusions of law set forth in these Findings and

Conclusions constitute the court’s findings and conclusions of law pursuant to Bankruptcy Rule

7052, made applicable to this case pursuant to Bankruptcy Rule 9014. To the extent any of the

following findings of fact constitute conclusions of law, they are adopted as such. To the extent

any of the following conclusions of law constitute findings of fact, they are adopted as such. Any

findings of fact or conclusions of law the court stated on the record at the Sale Hearing are

incorporated, to the extent they are not inconsistent with these Findings and Conclusions.

       2.      This court has jurisdiction and authority to hear and determine the request to

approve the sale (the “Sale”) and grant the other relief set forth in the order pursuant to 28 U.S.C.



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§§ 1334 and 157(b)(2)(A), (N) and (O). Venue of this case in this district is proper under 28 U.S.C.

§§ 1408 and 1409. The statutory predicates for the relief sought are sections 105 and 363 of the

Bankruptcy Code and Bankruptcy Rules 2002, 6004 and 6006, and all other applicable law.

       3.      The Sale Order constitutes a final and appealable order within the meaning of 28

U.S.C. § 158(a).

       4.      The Winning Bidder has executed an asset purchase agreement (the “LJG Purchase

Agreement”). The LJG Purchase Agreement provides for, among other things, the Winning

Bidder to purchase certain assets of the Trust which are set forth in the LJG Purchase Agreement

(the “LJG Purchased Assets”), under the terms and conditions set forth under the LJG Purchase

Agreement.

       5.      The Backup Bidder has executed an asset purchase agreement (the “WBF Purchase

Agreement”). The WBF Purchase Agreement provides for, among other things, the Backup

Bidder to purchase certain assets of the Debtor that are set forth in the WBF Purchase Agreement

(the “WBF Purchased Assets”; the WBF Purchased Assets and the LJG Purchased Assets are

referred to collectively as the “Purchased Assets”), under the terms and conditions set forth under

the WBF Purchase Agreement.

       6.      Sufficient notice of the Sale Motion and the Sale Hearing has been provided in

accordance with Bankruptcy Rules 2002 and 6004(a), as evidenced by the certificates of service

filed by the Trustee and entered on the docket of this case, showing service on all parties identified

on the mailing matrix for this case and the parties that have consented to ECF noticing. This notice

is sufficient for all purposes under the Bankruptcy Code, and no further notice of, or hearing on,

the Sale Motion is required.




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        7.      The Trustee and his professionals, agents and other representatives have adequately

and appropriately marketed the Purchased Assets and all parties were afforded a full, fair and

reasonable opportunity to do necessary and appropriate due diligence, qualify as a bidder,

participate in the bidding process, and to make a higher or otherwise better offer to purchase the

Purchased Assets.

        8.      The Trustee and his professionals, agents and other representatives: (i) provided

potential purchasers, upon request, sufficient information to enable them to make an informed

judgment on whether to bid on the Purchased Assets; and (ii) faithfully executed his duties in

considering all offers and bids throughout the bidding process and in determining the Winning

Bidder and the Back-Up Bidder for the Purchased Assets.

        9.      The Trustee has no connection with the Winning Bidder or Back-Up Bidder, and

has dealt at arms'-length with counsel for the Winning Bidder and Back-Up Bidder.

        10.     The Winning Bidder (or the Back-Up Bidder, if applicable) is a purchaser in good

faith, as that term is used in the Bankruptcy Code, and is entitled to the protections of Bankruptcy

Code section 363(m) with respect to the Sale. The LJG Purchase Agreement and the WBF

Purchase Agreement were negotiated and entered into in good faith, based upon arm's-length

negotiations and without collusion or fraud of any kind. The Winning Bidder and the Back-Up

Bidder did not act in a collusive manner with each other or any other person. The bid of the

Winning Bidder (or the Back-Up Bidder, if applicable) is fair, reasonable and offers the highest

and best offer available, and is in the best interest of the estate and its creditors.

        11.     A sale of the Purchased Assets other than one free and clear of all liens, claims, and

interests (except those expressly assumed by the Winning Bidder (or Back-Up Bidder, if

applicable)) would yield substantially less value for the Estate than the Sale. Therefore, the Sale



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contemplated by the LJG Purchase Agreement (or WBF Purchase Agreement, if applicable) is in

the best interests of the Debtor, its Estate and creditors, and all other parties in interest.

        12.     Investar's first-ranking mortgages, liens and other rights and interests (and only

Investar's first-ranking mortgages, liens and other rights and interests) shall attach to the proceeds

of the Sale (except those proceeds attributable to Eastwood Plantation B-1, which is .0116 of the

purchase price).

        13.     On the petition date, all of the Purchased Assets other than Eastwood B-1 were

putatively encumbered by the mortgages of (i) Investar, (ii) NCC Financial, LLC (“NCC”), and

(iii) several other entities. There are no remaining encumbrances of record against Eastwood B-

1.

        14.     In order to quiet title and rank the mortgages and other encumbrances on the

Purchased Assets, Investar instituted an adversary proceeding in this court, Adversary Proceeding

Number 19-1012 (the “Adversary Proceeding”) against the Trust (as successor in interest to the

Debtor), NCC and certain other parties.

        15.     Investar moved for partial summary judgment against NCC in the Adversary

Proceeding on November 19, 2019, and after a hearing, this court rendered judgment in favor of

Investar and against NCC declaring that any purported mortgage or other encumbrance asserted

by NCC against the Purchased Assets was unenforceable and invalid, and further that any claim

asserted or filed by NCC within the Bankruptcy Case was disallowed [P-112, Adversary

Proceeding] (the “NCC Judgment”).

        16.     The NCC Judgment was appealed to the district court for the Middle District of

Louisiana, which affirmed the NCC Judgment, and then to the United States Court of Appeals for

the Fifth Circuit, which also affirmed the NCC Judgment in a 2-1 panel decision; and the Fifth



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Circuit denied a rehearing by both the panel and en banc (See, Order dated May 20, 2022, on

docket of Fifth Circuit at case no. 21-30291). The Fifth Circuit mandate was satisfied on May 31,

2022 (See docket of Fifth Circuit at case no. 21-30291), and NCC has represented to the court,

through counsel, that it will not seek a writ of certiorari to the United States Supreme Court.

       17.     The Sale Motion complies with Bankruptcy Code section 363(f). The Trustee

obtained Investar's consent to the sale of the Purchased Assets to the Winning Bidder (or Back-Up

Bidder, if applicable) on the terms set forth in the LJG Purchase Agreement (or WBF Purchase

Agreement, if applicable) and the Sale Order. NCC’s liens have been resolved through the NCC

Judgment. To the extent there are other liens or claims that arguably could affect the Purchased

Assets, the holders of those liens or claims did not object to the terms of the Sale Motion and/or

the Sale, which expressly provides that the Sale is to be free and clear of all liens, claims and

interests. The Trustee may sell the Purchased Assets free and clear of all liens, claims, and interests

to the extent provided in the LJG Purchase Agreement (or WBF Purchase Agreement, if

applicable) because, with respect to each creditor asserting an interest, one or more of the standards

set forth in Bankruptcy Code section 363(f)(1)-(5) has been satisfied. Holders of interests that did

not object or who withdrew their objections to the Sale or the Sale Motion are deemed to have

consented to the Sale Motion and Sale pursuant to Bankruptcy Code section 363(f)(2). The

objections of holders of interests falls within one or more of the other subsections of section 363(f),

and all those objections are overruled.

       18.     All objections to the relief requested in the Sale Motion that have not been

withdrawn, waived or otherwise resolved are overruled.

       19.     Neither the Trustee, Winning Bidder, Back-Up Bidder, nor any other party engaged

in any conduct that would cause or permit the LJG Purchase Agreement (or WBF Purchase



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Agreement, if applicable) or the consummation of the Sale to be avoided, or costs or damages to

be imposed, under Bankruptcy Code section 363(n). The purchase price to be paid by the Winning

Bidder (or the Back-Up Bidder, if applicable) for the Purchased Assets under the LJG Purchase

Agreement (or the WBF Purchase Agreement, if applicable), and the terms and conditions

thereunder constitute transfers for reasonably equivalent value and fair consideration and thus the

Sale may not be avoided under section 363(n).

        20.       The Sale is in the best interests of the Debtor and its Estate, creditors, interest

holders, and all other parties in interest.

        21.       Except as otherwise provided in the LJG Purchase Agreement (or WBF Purchase

Agreement, if applicable), any and all Purchased Assets in the possession or control of any person

or entity, including, without limitation, any vendor, supplier, contract counterparty or employee of

the Debtor, shall be transferred to the Winning Bidder (or Back-Up Bidder, if applicable) free and

clear of all liens, and shall be delivered to the Winning Bidder (or Back-Up Bidder, if applicable)

at the closing.

        22.       These Findings and Conclusions and the Sale Order (a) are effective as a

determination that, upon the closing, except as expressly provided in the Sale Order, all liens

affecting the Purchased Assets prior to the closing have been unconditionally released, discharged,

and terminated in each case as to the Purchased Assets and (b) will authorize all entities, including,

without limitation, all filing agents, filing officers, title agents, title companies, recorders of

mortgages, recorders of fees, registrars of deeds, administrative agencies, governmental

departments, secretaries of state, federal, state, and local officials, and all other persons or entities,

who may be required by operation of law, the duties of their office, or contract, to accept, file,

register, or otherwise record or release any documents or instruments that reflect that the Winning



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Bidder (or Back-Up Bidder, if applicable) is the purchaser of the Purchased Assets free and clear

of all liens except as expressly provided in the LJG Purchase Agreement (or WBF Purchase

Agreement, if applicable).

       23.     All transactions and instruments contemplated under the terms of the Sale are and

shall be specifically enforceable against and binding upon, and not subject to rejection or

avoidance by the Trustee, creditors of the Debtor, or the Debtor’s Estate, and/or any other parties

in interest, and any successors of the Debtor or Trustee, including but not limited to any subsequent

trustee appointed in any subsequent or converted case of the Debtor under chapter 7 or chapter 11

of the Bankruptcy Code.

       24.     In the absence of a stay of the effectiveness of the Sale Order, in the event that the

Winning Bidder (or Back-Up Bidder, if applicable) and the Trustee consummate the transactions

contemplated in the LJG Purchase Agreement (or WBF Purchase Agreement, if applicable) at any

time after the entry of the Sale Order, then with respect to the transactions approved and authorized

by the Sale Order, the Winning Bidder (or Back-Up Bidder), as an arms'-length purchase in good

faith within the meaning of Bankruptcy Code section 363(m), is entitled to all the protections of

section 363(m) in the event the Sale Order or any authorization contained in that order is reversed

or modified on appeal.

       25.     The Sale was approved after a hearing properly and timely noticed. The Trustee

provided notice of the Sale Motion and Sale Hearing to all parties who have consented to ECF

noticing and all parties identified on the mailing matrix for this case, as evidenced by the

certificates of service filed on the docket for the record of this case. The Sale Hearing provided

reasonable opportunity to all interested parties to object to the relief requested and to make higher

and better offers for the Purchased Assets.



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       26.    The court finds and concludes that it should retain jurisdiction to hear and determine

all matters arising from or related to the Sale, and the documents executed and delivered in

connection with the Sale and Sale Order.

       27.    Good cause exists for waiving the fourteen-day stay under Bankruptcy Rule

6004(h).

              Baton Rouge, Louisiana, July 22, 2022.

                                        s/ Douglas D. Dodd
                                       DOUGLAS D. DODD
                             UNITED STATES BANKRUPTCY JUDGE
                               [SIGNATURES CONTINUE ON FOLLOWING PAGE]




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